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     Acting Federal Defender
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     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     YONI OVIDIO SOSA
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. 2:12-cr-370 MCE
                                     )
13                  Plaintiff,       )
                                     )       STIPULATION AND ORDER CONTINUING
14        v.                         )       CASE AND EXCLUDE TIME
                                     )
15   YONI OVIDIO SOSA, et. al.,      )
                                     )       Date: March 7, 2013
16                                   )       Time: 9:00 a.m.
                    Defendants.      )       Judge: Morrison C. England, Jr.
17   _______________________________ )
18        IT IS HEREBY STIPULATED by and among Assistant United States
19   Attorney, Olusere Olowoyeye, counsel for Plaintiff, Assistant Federal
20   Defender Jeffrey L. Staniels, counsel for defendant, YONI OVIDIO SOSA,
21   Clemente Jimenez, counsel for defendant, ANTONIO NAVARRO SILVA, and
22   Dina Lee Santos, counsel for defendant, JOSE GILBERTO LOPEZ that the
23   status conference now set for March 7, 2013, should be vacated and the
24   matter continued to April 11, 2013, at 9:00 a.m. for status conference.
25   This continuance is sought in order to consult with clients regarding
26   investigation, motions, procedural options open to clients, and other
27   aspects of defense preparation.
28   / / /
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 1        IT IS ALSO STIPULATED that the interests of justice furthered by
 2   granting this continuance outweigh the interests of the public and the
 3   defendant in a speedy trial.
 4        IT IS FURTHER STIPULATED that time for trial under the Speedy
 5   Trial Act be excluded between March 7, 2013, and April 11, 2013,
 6   pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B)(iv), Local Code T-4 (time
 7   to prepare).
 8             IT IS SO STIPULATED.
 9                                             Respectfully submitted,
10   Dated:    March 5, 2013                   /s/ Olusere Olowoyeye
                                               Olusere Olowoyeye
11                                             Assistant U.S. Attorney
                                               Attorney for Plaintiff
12
     Dated:    March 5, 2013                   /s/ Clemente Jimenez
13                                             Clemente Jimenez
                                               Attorney for Antonio Navarro Silva
14
     Dated:    March 5, 2013                   /s/ Dina L. Santos
15                                             Dina L. Santos
                                               Attorney for Jose Gilberto Lopez
16
17   Dated:    March 5, 2013                   /s/ Jeffrey Lewis Staniels
                                               Jeffrey Lewis Staniels
18                                             Assistant Federal Defender
                                               Attorney for Yoni Ovidio Sosa
19
20
21                                        O R D E R
22        Based on the above representations of counsel the court finds that
23   the requested continuance is appropriate and that the interests of the
24   government and the defense in granting this continuance outweigh the
25   interests of the defendants and the public in a speedy trial.            The
26   requested continuance is therefore GRANTED. Time for trial under the
27   Speedy Trial Act, 18 U.S.C. §§ 3161 et. seq., is excluded from March 7
28   2013, through April 11, 2013, pursuant to 18 U.S.C. §3161(h)(7(A)


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 1   &(B)(iv) and Local Code T-4.
 2          IT IS SO ORDERED.
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     Dated: March 8, 2013
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 5
                                       _____________________________________________
 6                                     MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                       UNITED STATES DISTRICT JUDGE
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